Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 1 of 8

U.S. Department of Justice

Rachael S. Rollins
United States Attorney
District of Massachusetts

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
I Courthouse Way
Suite 9200
Boston, Massachusetts 02210

June 13, 2022

Jane F. Peachy, Esquire
Federal Public Defender Office
51 Sleeper Street

Fifth Floor

Boston, MA 02210

Re: United States v. Walace Lima
Criminal No. 21-10227-DJC

Dear Ms. Peachy:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Walace Lima (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure (“Rule”) 11(c)(1)(C):

1. Change of Plea

Defendant will plead guilty to Counts One and Two of the Indictment: Possession of Child
Pornography, in violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2), and Distribution of Child
Pornography, in violation of 18 U.S.C. § 2252A(a)(2)(A). Defendant admits that Defendant
committed the crimes specified in these counts and is in fact guilty of each one.

2. Penalties

Defendant faces the following mandatory minimum and maximum penalties on Count One:
incarceration for 20 years; supervised release for a period of five years to life; a fine of $250,000;
a mandatory special assessment of $100; a special assessment of $5,000 pursuant to 18 U.S.C.
§ 3014 (the “JVTA assessment”), unless the Court finds that Defendant is indigent; a special
assessment of up to $17,000 pursuant to 18 U.S.C. § 2259A (the “AVAA assessment”), unless the
Court finds that Defendant is unable to pay; mandatory restitution; and forfeiture to the extent
charged in the Indictment.
Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 2 of 8

Defendant faces the following mandatory minimum and maximum penalties on Count
Two: incarceration for a mandatory minimum period of five years up to 20 years; supervised
release for a period of five years to life; a fine of $250,000; a mandatory special assessment of
$100; a special assessment of $5,000 pursuant to 18 U.S.C. § 3014 (the “JVTA assessment”),
unless the Court finds that Defendant is indigent; a special assessment of up to $35,000 pursuant
to 18 U.S.C. § 2259A (the “AVAA assessment”), unless the Court finds that Defendant is unable
to pay; mandatory restitution; and forfeiture to the extent charged in the Indictment.

Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant’s immigration status. Defendant agrees to plead guilty regardless of
any potential immigration consequences, even if Defendant’s plea results in being automatically
removed from the United States.

Defendant understands and acknowledges that as a consequence of his conviction for the
crimes to which he is pleading guilty, he will be required to register as a sex offender, and to keep
that registration current, in the place where he resides, where he is employed, and where he is a
student, pursuant to the Sex Offender Registration and Notification Act and the laws of the state
of his residence. Failure to do so may violate the terms of his supervised release and subject him
to new criminal charges pursuant to 18 U.S.C. § 2250.

3, Rule 11(c)(1\(C) Plea

In accordance with Rule 11(c)(1)(C), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attorney may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw Defendant’s plea for any other reason.

Should the U.S. Attorney void the agreement and/or Defendant moves to withdraw
Defendant’s guilty plea, Defendant agrees to waive any defenses based upon statute of limitations,
the constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges
that could have been brought as of the date of this Plea Agreement.

4. Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 30:

a) Defendant’s base offense level is 22 (USSG §2G2.2(a)(2));

b) Defendant’s offense level is increased by 2, because the material involved a
prepubescent minor or a minor who had not attained the age of 12 years (USSG
§2G2.2(b)(2));

c) Defendant’s offense level is increased by 2, because defendant knowingly
engaged in distribution, other than distribution for pecuniary gain, distribution

2
Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 3 of 8

d)

in exchange for anything of value, distribution to a minor, (USSG

§ 2G2.2(b)(3)(F));

Defendant’s offense level is increased by 2, because the offense involved the
use of a computer or an interactive computer service for the possession,
transmission, receipt, or distribution of the material, or for accessing with intent
to view the material (USSG § 2G2.2(b)(6));

Defendant’s offense level is increased by 5, because the offense involved 600
or more images (USSG § 2G2.2(b)(7)); and

Defendant’s offense level is decreased by 3, because Defendant has accepted
responsibility for Defendant’s crimes (USSG § 3E1.1).

Defendant understands that the Court is not required to follow this calculation. Defendant
also understands that the government will object to any reduction in Defendant’s sentence based
on acceptance of responsibility, and may be released from the parties’ agreed-upon disposition in
Paragraph 5 if: (a) at sentencing, Defendant (directly or through counsel) indicates that Defendant
does not fully accept responsibility for having engaged in the conduct underlying each of the
elements of the crimes to which Defendant is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

5. Agreed Disposition

The parties agree on the following sentence:

a)
b)
c)
d)

g)

incarceration for 63 months;
no fine;
60 months of supervised release;

a mandatory special assessment of $200, which Defendant must pay to the Clerk
of the Court by the date of sentencing;

a special assessment of $5,000 pursuant to 18 U.S.C. § 3014 (the “JVTA
assessment”), unless the Court finds that Defendant is indigent; a special
assessment of up to $35,000 pursuant to 18 U.S.C. §2259A (the “AVAA
assessment”), unless the Court finds that Defendant is unable to pay;

restitution to be determined by the Court at or within 90 days of sentencing; and

forfeiture as set forth in Paragraph 7.
3
Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 4of8

6. Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant’s conviction or sentence should be overturned.

Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
other proceeding, including in a separate civil lawsuit; and

b) Defendant will not challenge Defendant’s sentence, including any court orders
related to forfeiture, restitution, fines or supervised release, on direct appeal or
in any other proceeding, including in a separate civil lawsuit. The parties
having no agreement with respect to the amount of restitution, if any, that may
be ordered against Defendant, Defendant reserves his right to appeal a
restitution order that he believes to be excessive or determined by an erroneous
application of the law.

The U.S. Attorney agrees not to appeal the imposition of the sentence agreed to by the
parties in paragraph 5.

Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after

the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction and sentence regardless
of whether Defendant later changes Defendant’s mind or finds new information that would have
led Defendant not to agree to give up these rights in the first place.

Defendant is agreeing to give up these rights in exchange for concessions the U.S. Attorney
is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

7. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
4
Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 5 of 8

include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

The assets to be forfeited specifically include, without limitation, the following:

a. One Samsung Galaxy S$9+ cellphone, bearing serial number RF8K21M255F;
and

b. One Acer Aspire TC-605 computer Tower, bearing serial number
DTSRQAA008413019EA3000.

Defendant admits that these assets are subject to forfeiture they constitute (i) any visual
depiction described in sections 2251, 2251A, 2252, 2252A, 2252B, or 2260 of Chapter 110 of Title
18, or any book, magazine, periodical, film, videotape, or other matter which contains any such
visual depiction, which was produced, transported, mailed, shipped, or received in violation of
Chapter 110 of Title 18; (ii) any property, real or personal, constituting or traceable to gross profits
or other proceeds obtained from such offenses; and (iii) any property, real or personal, used or
intended to be used to commit or to promote the commission of such offenses or any property
traceable to such property. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2,
and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Defendant understands and agrees that forfeiture
shall not satisfy or affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or
any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with

5
Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 6 of 8

this Plea Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

8. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

9. Breach of Plea Agreement

Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney
the right to be released from the U.S. Attorney’s commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant’s statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant’s case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.

Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

10. Who is Bound by Plea Agreement

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

11. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

* * *
Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 7 of 8

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney David G. Tobin.

Sincerely,

RACHAEL S. ROLLINS
United States Attorney

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ANNE PARUTI

Chief, Major Crimes Unit
MARK GRADY

Deputy Chief, Major Crimes Unit

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Assistant U.S. Attorney
Case 1:21-cr-10227-DJC Document 47 Filed 06/16/22 Page 8 of 8

ACKNOWLEDGMENT OF PLEA AGREEMENT

I have had this letter read to me in my native language and discussed it with my attorney.
The letter accurately presents my agreement with the United States Attorney’s Office for the
District of Massachusetts. There are no unwritten agreements between me and the United States
Attorney’s Office, and no United States government official has made any unwritten promises or
representations to me in connection with my guilty plea. I have received no prior offers to resolve
this case.

I understand the crimes I am pleading guilty to, and the mandatory minimum and maximum
penalties for those crimes. I have discussed the Sentencing Guidelines with my lawyer and I
understand the sentencing ranges that may apply.

I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe this Agreement is in my best interest.

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WALACE LIMA
Defendant

Date. b liv lez

I certify that Walace Lima has had this Plea Agreement read to Defendant in Defendant’s
native language and that we have discussed what it means. I believe Walace Lima understands the
Agreement and is entering into it freely, voluntarily, and knowingly. | also certify that the U.S.
Attorney has not extended any other offers regarding a change of plea in this case.

JE ra—_
JANE F. PEACHY /
Attorney for Defendant

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